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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

   STATE OF NEBRASKA,
   STATE OF MISSOURI,
   STATE OF ARKANSAS,
   STATE OF IOWA,
   STATE OF KANSAS, and
   STATE OF SOUTH CAROLINA,                           No. 4:22-cv-01040

                   Plaintiffs,

      v.

   JOSEPH R. BIDEN, Jr.,
   in his official capacity as the President of
   the United States of America;

   MIGUEL CARDONA, in his official
   capacity as Secretary, United States
   Department of Education; and

   UNITED STATES DEPARTMENT OF
   EDUCATION,

                   Defendants.


                       NOTICE REQUESTING HEARING ON
                  MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiff States hereby request a hearing on their motion for a temporary restraining order

on September 30 at 2:00 pm Central time (or anytime that afternoon) via teleconference, or as soon

thereafter as may be heard.

       Plaintiffs attempted to notify Defendants of the motion for a temporary restraining order.

On September 29, 2022, at 12:22 pm Central time, Plaintiffs’ counsel Michael Talent sent an email

to Robert Merritt at the U.S. Department of Justice and Nicholas Llewellyn at the U.S. Attorney’s

Office in St. Louis. Mr. Merritt is counsel of record for the federal government in a similar


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challenge to Defendants’ mass debt cancellation program pending in the United States District

Court for the Southern District of Indiana. That email included a copy of the complaint and

notified the recipients of Plaintiffs’ intent to file a motion for a temporary restraining order and to

seek a hearing on that motion during the afternoon of September 30. Subsequently, Plaintiffs’

counsel Michael Talent sent another email to Mr. Merritt and Mr. Llewellyn providing them with

copies of the motion for temporary restraining order and the accompanying documents. Plaintiffs’

counsel James Campbell also called Mr. Llewellyn and left him a voicemail. So far, Plaintiffs’

attorneys have not yet heard back from either Mr. Merritt or Mr. Llewellyn. Given that, Plaintiffs

do not know whether counsel will appear on behalf of Defendants at a hearing set for the afternoon

of September 30.




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Dated: September 29, 2022                     Respectfully submitted,

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Attorney General of Nebraska                  Attorney General of Missouri

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/s/ Shannon Grammel                           /s/ J. Emory Smith, Jr.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on September 29, 2022, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system for all parties who have

appeared and to be served on those parties who have not appeared in accordance with the Federal

Rules of Civil Procedure or other means agreed to by the parties.

                                                      /s/ James A. Campbell
                                                      James A. Campbell




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